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                                  EVEREST URGENT CARE LLC and XIAOBIN LI
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                        12
                                                            UNITED STATES DISTRICT COURT
                        13
                                                          CENTRAL DISTRICT OF CALIFORNIA
                        14
                                                                     SOUTHERN DIVISION
                        15

                        16        BALBOA CAPITAL CORPORATION,                     Case No. 8:20-cv-01813-JVS-JDE
                        17                              Plaintiff,                Hon. James V. Selna
                        18                v.
                                                                                  THIRD-PARTY COMPLAINT
                        19        EVEREST URGENT CARE LLC;                        FOR:
                                  XIAOBIN LI; DOES 1 through 100,
                        20                                                          1. INDEMNIFICATION;
                                                        Defendants.                 2. CONTRIBUTION
                        21
                                  ______________________________________           DEMAND FOR JURY TRIAL
                        22
                                  EVEREST URGENT CARE LLC;
                        23        XIAOBIN LI,
                        24                              Third-Party Plaintiffs,
                        25                v.
                        26        INMODE, LTD.; and ROES 1-10,
                        27                              Third-Party Defendants.
                        28
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A T T O R N E YS A T L A W
                                                                                  THIRD-PARTY COMPLAINT AGAINST INMODE, LTD;
                                                                                                 CASE NO. 8:20-CV-01813-JVS-JDE
                                 LAACTIVE-604804684.4
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                             1           Defendants and Third-Party Plaintiffs Everest Urgent Care LLC and Xiaobin
                             2   Li, M.D. (collectively “Third-Party Plaintiffs”) allege upon knowledge as to their
                             3   own actions, and upon information and belief as to all other matters, against Third-
                             4   Party Defendants InMode, Ltd. and Roes 1 through 10 (“Third-Party Defendants”)
                             5   as follows:
                             6                                         THE PARTIES
                             7           1.       Defendant and Third-Party Plaintiff Everest Urgent Care LLC
                             8   (“Everest”) is a Pennsylvania Limited Liability Corporation doing business in the
                             9   State of Pennsylvania.
                        10               2.       Defendant and Third-Party Plaintiff Xiaobin Li, M.D. (“Dr. Li”) is a
                        11       physician doing business in the State of Pennsylvania and is associated with
                        12       Everest.
                        13               3.       Third-Party Plaintiffs are informed and believe and thereon allege that
                        14       Third-Party Defendant InMode, Ltd. (“InMode”) is, and at all relevant times was, a
                        15       Delaware corporation doing business in the State of California with its principal
                        16       place of business in Lake Forest, Orange County, California.
                        17               4.       Third-Party Plaintiffs are informed and believe and thereon allege that
                        18       each of the Third-Party Defendants fictitiously sued hereunder as Roes 1 through
                        19       10 are in some manner responsible for the occurrences alleged hereunder and the
                        20       damages which Third-Party Plaintiffs allege hereunder, and at all times, each of
                        21       said Roes was acting as the agent for each other or InMode within the scope and
                        22       capacity of said agency. Third-Party Plaintiffs are ignorant of the true names and
                        23       capacities of such Third-Party Defendants sued herein as Roes 1 through 10
                        24       inclusive and therefore sue these Third-Party Defendants by such fictitious names
                        25       for the same acts and causes of action alleged against Third-Party Defendants.
                        26       Third-Party Plaintiffs will seek leave of Court to amend this Third-Party Complaint
                        27       to allege the true names and capacities of said Third-Party Defendants at such time
                        28       as they may be ascertained.
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                                                                                     THIRD-PARTY COMPLAINT AGAINST INMODE, LTD;
                                                                                                    CASE NO. 8:20-CV-01813-JVS-JDE
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                             1                                JURISDICTION AND VENUE
                             2           5.       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
                             3   1332 and 1367. The matter in controversy exceeds the sum or value of $75,000.00,
                             4   exclusive of interest and costs, and is between citizens of different States.
                             5           6.       This Court has personal jurisdiction over InMode because its principal
                             6   place of business is in Lake Forest, Orange County, California, and it has engaged
                             7   in business transactions and wrongful conduct in the state of California and
                             8   specifically in this District, and the claims alleged herein arise out of those
                             9   transactions and conduct.
                        10               7.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 as
                        11       InMode is based and transacts business in this District.
                        12                                     GENERAL ALLEGATIONS
                        13               8.       On May 26, 2020, Plaintiff Balboa Capital Corporation (“Plaintiff”)
                        14       filed this lawsuit in Orange County Superior Court (“Complaint”) against
                        15       Defendants and Third-Party Plaintiffs Everest and Dr. Li, alleging that Plaintiff
                        16       loaned Everest $180,740 to finance the purchase of medical equipment from a
                        17       third-party and that Dr. Li guaranteed the loan. Plaintiff alleges in the Complaint
                        18       that Everest stopped making the required payments pursuant to that loan and seeks
                        19       the current balance on the equipment financing loan plus interest.
                        20               9.       On September 21, 2020, Third-Party Plaintiffs removed the Complaint
                        21       to this Court.
                        22               10.      The financed medical equipment was purchased by Everest from
                        23       InMode, whereby InMode agreed to sell, deliver, and install the equipment, and
                        24       warranted that the equipment would work for its intended use.
                        25               11.      Third-Party Defendants failed to fully deliver the medical equipment
                        26       as promised, failed to provide set-up support as promised, and failed to provide
                        27       replacements for parts to the medical equipment that was either broken or did not
                        28       work as promised. Accordingly, the medical equipment was never fully delivered,
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                                                                                     THIRD-PARTY COMPLAINT AGAINST INMODE, LTD;
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                             1   installed, or usable for its intended purposes.
                             2           12.      Third-Party Plaintiffs attempted to return the medical equipment to
                             3   Third-Party Defendants but such attempts were refused by Third-Party Defendants.
                             4                                 FIRST CLAIM FOR RELIEF
                             5          (INDEMNIFICATION AGAINST THIRD-PARTY DEFENDANTS)
                             6           13.      Third-Party Plaintiffs incorporate herein, by way of reference, all other
                             7   paragraphs set forth in this Third-Party Complaint in support of this claim for relief.
                             8           14.      Plaintiff alleges in its Complaint that it suffered damages as a result of
                             9   Third-Party Plaintiffs’ alleged failure to pay for medical equipment Everest
                        10       purchased from Third-Party Defendants that was financed by Plaintiff.
                        11               15.      Third-Party Plaintiffs allege that they are in no way legally responsible
                        12       for the events giving rise to Plaintiff’s action and not legally responsible in any
                        13       manner for the damages allegedly sustained by Plaintiff. If, contrary to the
                        14       foregoing allegations, Third-Party Plaintiffs are held to be liable for all or any part
                        15       of the claim for damages asserted by Plaintiff against Third-Party Plaintiffs, then
                        16       Third-Party Plaintiffs are informed and believe, and based upon such information
                        17       and belief, allege that Third-Party Defendants, and each of them, were the
                        18       proximate cause of the alleged damages and/or losses to Plaintiff.
                        19                16.     If Third-Party Plaintiffs are held liable and responsible to Plaintiff for
                        20       damages as alleged in the Complaint, it will be solely due to the conduct of Third-
                        21       Party Defendants, and each of them, as alleged herein. Therefore, Third-Party
                        22       Plaintiffs are entitled to be indemnified by Third-Party Defendants, and each of
                        23       them should such liability arise.
                        24                                    SECOND CLAIM FOR RELIEF
                        25                (CONTRIBUTION AGAINST THIRD-PARTY DEFENDANTS)
                        26               17.      Third-Party Plaintiffs incorporate herein, by way of reference, all other
                        27       paragraphs set forth in this Third-Party Complaint in support of this claim for relief.
                        28               18.      Third-Party Plaintiffs contend that they are in no way legally
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                                                                                      THIRD-PARTY COMPLAINT AGAINST INMODE, LTD;
                                                                                                     CASE NO. 8:20-CV-01813-JVS-JDE
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                             1   responsible for the damages alleged in Plaintiff’s Complaint. However, if as a
                             2   result of the matters alleged in Plaintiff’s Complaint, Third-Party Plaintiffs are held
                             3   liable for all or any part of Plaintiff’s alleged damages, Third-Party Defendants
                             4   herein, and each of them, to the extent that their fault is determined by the court, are
                             5   obligated to reimburse and are liable to Third-Party Plaintiffs for all or any liability
                             6   so asserted by way of contribution and Third-Party Plaintiffs accordingly assert
                             7   herein such right to contribution.
                             8           WHEREFORE, Third-Party Plaintiffs pray for Judgment against Third-Party
                             9   Defendants and each of them as follows:
                        10               1.       For compensatory damages, according to proof;
                        11               2.       For an order that Third-Party Plaintiffs are entitled to be fully
                        12       indemnified by Third-Party Defendants, and each of them, for any and all
                        13       judgments entered against Everest as a result of this action;
                        14               3.       For attorneys’ fees;
                        15               4.       For costs of suit incurred herein; and
                        16               5.       For such other and further relief as the Court may deem proper.
                        17
                                   Dated: October 13, 2020                      CROWELL & MORING LLP
                        18

                        19
                                                                                By: /s/ Daniel M. Glassman
                        20

                        21                                                            Jennifer S. Romano
                                                                                      Daniel M. Glassman
                        22                                                            Yao Mou
                        23                                                            Attorneys for Defendants and Third-
                                                                                      Party Plaintiffs EVEREST URGENT
                        24                                                            CARE LLC and XIAOBIN LI, M.D.
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                                                                                      THIRD-PARTY COMPLAINT AGAINST INMODE, LTD;
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                             1                            DEMAND FOR TRIAL BY JURY
                             2           Third-Party Plaintiffs hereby demand trial by jury.
                             3
                                   Dated: October 13, 2020                  CROWELL & MORING LLP
                             4

                             5
                                                                            By: /s/ Daniel M. Glassman
                             6

                             7                                                    Jennifer S. Romano
                                                                                  Daniel M. Glassman
                             8                                                    Yao Mou
                             9                                                    Attorneys for Defendants and Third-
                                                                                  Party Plaintiffs EVEREST URGENT
                        10                                                        CARE LLC and XIAOBIN LI, M.D.
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